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 4
                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 5
                                         AT SEATTLE
 6
     LON BIASCO,
 7
                               Plaintiff,                 Case No. C22-0518-RSL-MLP
 8
            v.                                            ORDER
 9
     DEPARTMENT OF HOMELAND
10   SECURITY, et al.,

11                             Defendant.

12

13          Having reviewed the Report and Recommendation of the Honorable Michelle L.

14   Peterson, United States Magistrate Judge, as well as plaintiff’s objections and defendants’

15   responses thereto, the Court finds and ORDERS:

16          (1)      The Court ADOPTS the Report and Recommendation.

17          (2)      Defendants’ Motion to DISMISS (Dkt. # 13) is GRANTED.

18          (3)      This case is DISMISSED without prejudice.

19          The Clerk is directed to send copies of this Order to the parties and to Judge Peterson.

20          Dated this 3rd day of October, 2022.

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22
                                                          Robert S. Lasnik
23                                                        United States District Judge




     ORDER - 1
